Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12038 Page 1 of 6
Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12039 Page 2 of 6
Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12040 Page 3 of 6
Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12041 Page 4 of 6
Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12042 Page 5 of 6
Case 2:13-cr-00008-WFN   ECF No. 2327   filed 06/25/14   PageID.12043 Page 6 of 6
